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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                  Case No. 2:11-cr-20677

vs
                                                HON. ARTHUR TARNOW

LATOYA LAVONDA PERRY,

                Defendant.
_____________________________________________________________________

               DEFENDANT'S SUPPLEMENTAL RESPONSE TO HER
                   MOTION FOR COMPASSIONATE RELEASE

      When she last appeared in Court, Ms. Perry faced the predictable consequences

of physical and sexual abuse, self-medicating drug addiction, mental illness, and a

decent into a pattern of criminal behavior. The Court's colleague, the Honorable Julian

Abele Cook, Jr. sentenced Ms. Perry to 188 months in prison, with a recommendation

for designation to an institution with a comprehensive drug treatment program. In light

of the COVID-19 pandemic, she asks this Court for compassionate release.

      1.     Personal Background and Health

      Ms. Perry's childhood is a fractured picture of sexual and physical abuse. She

reported that she was sexually abused by her maternal uncle during family trips and

visits with him. At age seven, Ms. Perry's uncle paid her to allow him to touch her

breasts and genitals. By age 10, the payments were for sexual acts and relations. See

Revised PSR, June 11, 2019 at 21. Ms. Perry and her mother were subjected to

drunken beatings from her stepfather who would then throw them out into the streets.

Id. At age 13, Ms. Perry sold crack cocaine as her means of escape from her abusive
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stepfather. Id. During this time, she lived with Terry Wallace, a drug dealer who

impregnated her at age 14. Id.

       There is little doubt her childhood contributed to her poor m ental health. Ms.

Perry’s adult years have provided little relief from trauma. In 2004, Ms, Perry was

raped. Id. at 24. Close family and friends, including her brother and his girlfriend were

murdered. In February 2011, Ms. Perry was diagnosed as Bipolar I Disorder with

symptoms of mild depression and poly substance abuse. Id at 23. She also suf fers

from post-traumatic syndrome. The Revised PSR indicates that she is medicated with

Topamax, Elavil, and Neurontin. Id at 22. The onslaught of personal tragedies and

mental illness pushed Ms. Perry into searching for relief from these tragedies through

illegal narcotics and prescription medications. Ms, Perry self-reported as having used

alcohol, marihuana, cocaine, ecstacy, and unprescribed xanax and valium. She

experimented with heroin for over a month after the shooting death of her brother's

girlfriend. Id. at 24.

       Ms. Perry will be 45 years old in November. She is overweight. According to her

Revised PSR, she is 5'8" and weighs 180 pounds. Id at 22. Ms. Perry is medicated for

anemia which was likely brought on by her addictions. Years of drug abuse have likely

weakened her immune system, leaving Ms. Perry especially vulnerable to severe illness

from COVID 19. A history of alcohol abuse will negatively affect liver and pancreatic

functions, leaving Ms. Perry with immune system problems and susceptibility to

pneumonia.1 Smoking cocaine leaves ones lungs damaged, and the smoker vulnerable




       1
       Sarkar, D., Jung, M.K., & Wang, H.J. (2015). Alcohol and the immune system.
Alcohol Research 37(2), 153-155. https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4590612/
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to lung infections like bronchitis and pneumonia.2 Smoking marijuana reduces the

body’s ability to resist infections from viruses, bacteria, fungi, and protozoa. Because of

the suppressed ability of the immune system, it may also reduce the ability of an

immune system to be able to destroy cancer cells.3

       2.     Criminal History and Current Sentence

       As mentioned, Ms. Perry’s criminal history began in her early teens, as a means

to escape sexual and physical abuse. Her record indicates patterns that are typical of

addicts. Ms. Perry is a repeat offender of drug possession in amounts that equal

personal use and/or possession of drug paraphernalia. She has convictions for

shoplifting and car theft, offenses that are typical of drug addicts who break the law to

pay for their drugs. Id at 11, 17-18. Finally there are convictions and charges for

selling small amounts of narcotics, again typical addicts who fund their habits by selling

drugs for their dealers. Id at 16. Added to that is the obv ious conclusion that Ms. Perry

was not just funding her addictions, but was also self-medicating to cope with the

abuses she suffered as a child.

       The offense that led her to the custody of the Bureau of Prisons also involved

relatively small amounts of narcotics. Over the course of one month in September and

October 2010, Ms. Perrry made three sales of crack cocaine to undercover agents. Id



       2
       University of Illinois at Chicago. (1997). How cocaine may weaken the immune
system. https://www.sciencedaily.com/releases/1997/04/970423114328.htm
       3
         National Academies of Sciences, Engineering, and Medicine; Health and
Medicine Division; Board on Population Health and Public Health Practice; Com mittee
on the Health Effects of Marijuana. (2017). The Health Effects of Cannabis and
Cannabinoids: The Current State of Evidence and Recommendations for Research.
Washington DC: National Academies Press.
https://www.ncbi.nlm.nih.gov/books/NBK425755/
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at 5. In sum, the amount of cocaine base involved 51.43 grams of cocaine base. Id. In

Wayne County Circuit Court, she likely would have faced of a prison sentence of one or

two years for this amount of crack cocaine. In this jurisdiction, Ms. Perry received 188

months in prison. Since 2016, Ms. Perry’s time in prison has been uneventful. There

have been no disciplinary actions against her since 2916 and is currently assigned to

clear conduct status.

                                       ARGUMENT

       1.     Exhaustion of Administrative Recourse

       Under Section 3582(c)(1)(A), a Defendant may move for a reduction of

sentence after either (1) "the defendant has fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf" or

(2) "the lapse of 30 days from the receipt of [a request to the Bureau of Prisons to bring

a motion on the defendant's behalf] by the warden of the defendant's facility,"

whichever is earlier. The court may reduce a sentence under Section 3582(c)(1)(A) "if it

finds that extraordinary and compelling reasons warrant such a reduction" and "that

such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission." The Court must "also consider[] the factors set forth in 18

U.S.C. §3553(a) to the extent that they are applicable." 18 U.S.C. §3582(C)(1)(A);

United States v. Snell, No. 16-20222 (E.D.Mich 6/2/2020, J.Tarnow) It is counsel’s

information and belief that 30 days have passed since Ms. Perry submitted her request

to warden at FCI Tallahassee requesting compassionate release. .

       2.     Compelling and Extraordinary Circumstances Necessitate Relief

       "To determine what the Sentencing Commission considers 'extraordinary and
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compelling,' the Court turns to United States Sentencing Guidelines § 1B1.13." United

States v. Cantu, 423 F. Supp. 3d 345, 349 (S.D. Tex. 2019) (citing 28 U.S.C. §994(t)).

"However, the Sentencing Commission's policy statements have not been amended

since the enactment of the First Step Act, and consequently, a portion of the policy

statement now squarely contradicts 18 U.S.C. §3582, as amended." United States v.

Perdigao, No. 07-103, 2020 WL 1672322, at *2 (E.D. La, April 2, 2020)

         "[T]his discrepancy means that the Sentencing Commission does not have a

policy position applicable to motions for compassionate release filed by defendants

pursuant to the First Step Act." Id. (citation omitted). "While the old policy statement

provides helpful guidance," United States v. Beck, 425 F.Supp.3d 573 (M.D.N.C. 2019),

numerous other courts who have ruled on this issue have held that they have the

"discretion to determine what constitutes an 'extraordinary and compelling reason[]' on

a case by case basis, and reliance on the policy statement may be helpful, but not

dispositive," Perdigao, 2020 WL 1672322, at *2 (citation omitted); see also United

States v. Haynes, No. 93 CR 1043 (RJD), 2020 WL 1941478, at *14 (E.D.N.Y. Apr. 22,

2020).

         The numbers are staggering. There have been more than 5.3 million cases of

COVID-19 and over 170,000 deaths in the United States alone. In Florida alone, w here

Ms. Perry currently is incarcerated at the Tallahassee FCI, there have been more than

567,000 cases of COVID 19 infection.4 Corrections officers at Tallahassee FCI fear the

worst as the BOP is beginning to transport inmates into the facility from jails and other




         4
             https://floridahealthcovid19.gov
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prisons around the country.5 In one recent transport from the Marshal’s Service, five

out of the eight inmates brought to FCI Tallahassee tested positive for COVID-19. Id.

       The conditions in prisons by nature of their purpose create a petri dish for

infectious diseases. Inmates have little, if any, access to cleaning products to sanitize

their environment. Personal protection equipment such as masks and gloves are

difficult to find. Even the guards at FCI Tallahassee complain that the resources in their

prison are so scare that they have to bring their own masks and gloves to protect

themselves. Id. Combined with the inability to socially distance inmates, "jails and

prisons are powder kegs for infection" and "[r]ealistically the best - perhaps the only -

way to mitigate the damage and reduce the death toll is to decrease the jail and prison

population by releasing as many people as possible." United States v. Skelos, No. 15-

cr-317(KMW), 2020 U.S.Dist. LEXIS 64639, at *4 (S.D.N.Y. 2020)(quoting United

States v. Nkanga, No. 18-cr-713, 2020 U.S.Dist. LEXIS 56188, at *1 (S.D.N.Y. March

31, 2020).

       Ms. Perry reports that there are over 100 women in her unit. There are no doors

separating the prisoners, and it is impossible to socially distances from each other.

Each prisoner is given one paper mask a week. It is difficult, at best, to access hand

sanitizer, and cleaning wipes to keep her living quarters clean. As alarming is the fact

that the BOP has recently begun to initiate transfers from other prisons and jails. The

most recent transfer involved eight women inmates. It is Ms. Perry’s information and

belief that five were infected with COVID-19.




       5
       https://www.wtxl.com/news/local-news/fci-tallahassee-employees-fear-the-worst-
as-inmate-transportation-restarts
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       Although she is 45 years old, there is little doubt that years of drug abuse have

aged Ms. Perry and compromised her immune system. Ms. Perry further suffers from

anemia and mental health issues causing her to require medication. Cocaine use on its

own often results in significant damage to the respiratory and pulmonary systems of

addicts. Ms. Perry’s vulnerability to the COVID-19 virus is extraordinary in and of itself.

Combined with the impact that COVID-19 is having on Florida, and the transfer of

COVID-19 infected inmates into Tallahassee FCI, Ms Perry is in significant risk of

serious illness or death from COVID-19 if the Court does not intervene.

       3.     Section 3553(a) factors advise the Court to grant compassionate
              release.

       A defendant seeking compassionate release must also demonstrate that she "is

not a danger to the safety of any other person or to the community, as provided in 18

U.S.C. §3142(g)." U.S.S.G. § 1B1.13. "Section 3142(g) requires the court to consider

factors such as the nature and circumstances of the charged offense, the history and

characteristic of the defendant, and the nature of seriousness of the danger to a person

or the community at large posed by the defendant's release." Perdigao, 2020 WL

1672322, at *2 (citing 18 U.S.C. § 3142(g).

       The crimes committed by Ms. Perry are serious. Illicit drug use is a pandemic in

its own right. It is tearing apart the fabric of American families and ruining the lives of

those trapped in addiction . No one understands that better than Ms. Perry . She has

lost the things most dear to her: her children, her family, and her freedom. As she

notes in her petition to this Court, Ms. Perry’s actions prevent her from helping those

closest to her in their time of need.
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       The time that Ms. Perry has served and the loss it is causing her are ample

enough to reflect the seriousness of her crimes and just punishment for her actions. In

addition, the goals of deterrence have been served. The consequences of Ms. Perry’s

federal sentence for drug dealing should give others significant pause before they

engage in similar acts. The Court can certainly be assured that the time Ms. Perry has

served will deter her from dealing drugs once she is released.

       The Court can also rely on Ms. Perry’s aggressive pursuit of her own

rehabilitation and the trust the Bureau of Prisons has placed in her. Ms. Perry

successfully completed the Bureau of Prisons’ Residential Drug Abuse Program

(RDAP) in 2017. As she continues to celebrates her sobriety, she has found the ability

to better herself and prepare for life outside the walls of the Bureau of Prison. This is

illustrated in Ms. Perry’s efforts to educate herself through the following BOP classes:

Culinary Arts; Building and Trades; Business Education Phase I; Anger Management;

Trauma in Life Resolve Program; and a Psychology Class, to name a few.

       What should be striking is the trust placed in Ms. Perry by the Bureau of Prisons.

Prior to the COVID-19 pandemic, Ms. Perry was employed in the prison staff dining hall

as a cook. It is difficult to imagine a position that requires more trust than that placed in

the hands of the prisoner who feeds prison staff and correctional officers. With that in

mind, the Court should be assured that Ms. Perry no longer presents a danger to

society.
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                                      CONCLUSION

       Without the time she has spent in prison, Ms. Perry understands she likely would

have continued the path of drug abuse and criminal activity she was on. Her “rock

bottom” was significant federal incarceration. Ms. Perry asks this Court for

compassionate release from prison because she fears that incarceration could become

a life sentence. The Court should be assured that compassionate release is

appropriate because Ms. Perry has rehabilitated herself. She has not only used her

time in prison to address her addictions but to also prepare f or life outside of prison as a

contributing member of society. Her plan is to live with her sister, assist her ailing

mother, and maintain employment in culinary arts.

                                          Respectfully Submitted,

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Dated: August 21, 2020
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                              CERTIFICATE OF SERVICE

      I, under penalty of perjury, certify that I served the foregoing supplemental brief

on the Court and all interested parties through the Court’s CM/ECF electronic filing

service on August 21, 2020.

                                         /s/ Nicole L. Smith
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                                         Attorney for Defendant
